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                           IN THE COURT OF COMMON PLEAS
                             MONTGOMERY COUNTY, OHIO


 OLWIN METAL FABRICATION LLC,                   )   CASE NO.: 2022 CV 01134
                                                )
                                                )   JUDGE MARY E. MONTGOMERY
                        Plaintiff,              )
                                                )
         v.                                     )
                                                )   NOTICE OF FILING NOTICE OF
                                                )   REMOVAL
 MULTICAM INC., et al.,                         )
                                                )
                       Defendants.              )



        Please take notice that on April 14, 2022, a Notice of Removal was filed in the United

States District Court for the Southern District of Ohio. A true and correct copy of said Notice of

Removal (without exhibits) is attached to this notice as Exhibit 1 and is served and filed herewith.


                                                 Respectfully submitted,


This 14th day of April, 2022                     s/ Kelly E. Mulrane
                                                 KELLY E. MULRANE (0088133),Trial Attorney
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                                                   ARONOFF LLP
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                                                 Attorneys for Defendant MultiCam Inc.




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                                  CERTIFICATE OF SERVICE

        The undersigned certifies that a true and accurate copy of the foregoing was served on the

14th day of April, 2022, via electronic and U.S. mail upon the following:

        Richard L. Carr
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        Defendant
                                             s/ Kelly E. Mulrane
                                             Kelly E. Mulrane (0088133)

                                             One of the Attorneys for Defendant MultiCam Inc.




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